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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION



VITALLIANCE CORPORATION,

                                         Plaintiff,          CASE NO. 3:20-CV-00002

                v.

I+SOLUTIONS, a Dutch company,

                                         Defendant.

                                SUMMONS IN A CIVIL ACTION

To:                     I+SOLUTIONS, a Dutch company
                        C/O E.A Monchen
                        Polanerbaan 11, 3447 GN Woerden, The Netherlands

        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff
an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
name and address are:

                        Grable Martin Fulton, PLLC
                        Clement Osimetha
                        4475 Trinity Mills Road, #701324
                        Dallas, Texas 75370

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.


                                                             CLERK OF COURT

Date: ____________________                                   ____________________________
                                                             Signature of Clerk or Deputy Clerk


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